         Case 1:19-cr-00561-LAP Document 284 Filed 05/04/21 Page 1 of 22




                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

----------------------------------------------------------x
                                                          :
UNITED STATES OF AMERICA,                                 :
                                                          :
-against-                                                 :
                                                          : Case No. 19 CR 561 (LAP)
STEVEN DONZIGER,                                          :          11 CV 691 (LAK)
                                                          :
Defendant.                                                :
                                                          :
                                                          :
----------------------------------------------------------x

 NON-PARTIES GIBSON, DUNN & CRUTCHER LLP AND CERTAIN PARTNERS’
    MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION TO QUASH
SUBPOENAS SERVED UNDER FEDERAL RULE OF CRIMINAL PROCEDURE 17(C)
           Case 1:19-cr-00561-LAP Document 284 Filed 05/04/21 Page 2 of 22




                                                    TABLE OF CONTENTS

I. PRELIMINARY STATEMENT ................................................................................................ 1

II. BACKGROUND ....................................................................................................................... 4

          A.         The RICO Judgment and Post-Judgment Proceedings in the Civil RICO
                     Action..................................................................................................................... 4

          B.         The Criminal Contempt Charges and Donziger’s Rule 17(c) Subpoenas ............. 7

III. ARGUMENT ........................................................................................................................... 9

          A.         Donziger’s Subpoenas Contravene the Established Limitations of Rule
                     17(c) ....................................................................................................................... 9

                     1.         The Subpoenas Seek Information Irrelevant to This Criminal
                                Action....................................................................................................... 11

                     2.         The Subpoenas Seek Inadmissible Evidence ........................................... 12

                     3.         The Subpoenas Are Broad in Violation of Rule 17(c) ............................. 15

          B.         Donziger Already Has or Can Obtain Relevant Evidence from Other
                     Sources ................................................................................................................. 17

IV. CONCLUSION ...................................................................................................................... 18




                                                                        i
            Case 1:19-cr-00561-LAP Document 284 Filed 05/04/21 Page 3 of 22




                                               TABLE OF AUTHORITIES

CASES

Chevron Corp. v. Donziger,
   384 F. Supp. 3d 465 (S.D.N.Y. 2019)........................................................................................1

Chevron Corp. v. Donziger,
   974 F. Supp. 2d 362 (S.D.N.Y. 2014)................................................................................1, 4, 5

Chevron Corp. v. Donziger,
   990 F.3d 191 (2d Cir. 2021)...................................................................................................6, 7

Chevron Corporation v. Donziger,
   833 F.3d 74 (2d Cir. 2016).........................................................................................................5

Dinler v. City of New York,
   No. 04-CIV-7921 (RJS), 2009 WL 10738061 (S.D.N.Y. Sept. 3, 2009) ................................13

Diversified Grp., Inc. v. Daugerdas,
   304 F. Supp. 2d 507 (S.D.N.Y. 2003)......................................................................................13

Donziger v. Chevron Corp.,
   137 S. Ct. 2268 (2017) ...............................................................................................................5

Matter of Donziger,
   186 A.D.3d 27 (2020) ..............................................................................................................11

Ehrich v. Binghamton City Sch. Dist.,
   210 F.R.D. 17 (N.D.N.Y. 2002)...............................................................................................13

Fisher v. United States,
   425 U.S. 391 (1976) .................................................................................................................13

Republic Gear Co. v. Borg-Warner Corp.,
   381 F.2d 551 (2d Cir. 1967).....................................................................................................13

United States v. Barnes,
   No. 04-CR-186 (SCR), 2008 WL 9359654 (S.D.N.Y. Apr. 2, 2008) ............................. passim

United States v. Bergstein,
   788 F. App’x 742 (2d Cir. 2019) .............................................................................................10

United States v. Binday,
   908 F. Supp. 2d 485 (S.D.N.Y. 2012)......................................................................................12

United States v. Boyle,
   No. 08-CR-523 (CM), 2009 WL 484436 (S.D.N.Y. Feb. 24, 2009) .................................14, 18


                                                                    ii
            Case 1:19-cr-00561-LAP Document 284 Filed 05/04/21 Page 4 of 22




United States v. Brown,
   No. 95-CR-168 (AGS), 1995 WL 387698 (S.D.N.Y. June 30, 1995) ...............................10, 14

United States v. Cherry,
   876 F. Supp. 547 (S.D.N.Y. 1995) ..........................................................................................12

United States v. Jackson,
   No. 02-CR-756 (LMM), 2006 WL 1993251 (S.D.N.Y. July 14, 2006) ..................................14

United States v. Libby,
   432 F. Supp. 2d 26 (D.D.C. 2006) ...........................................................................................15

United States v. Mendinueta-Ibarro,
   956 F. Supp. 2d 511 (S.D.N.Y. 2013)......................................................................................15

United States v. Nektalov,
   No. 03-CR-828, 2004 WL 1574721 (S.D.N.Y. July 14, 2004) .........................................10, 11

United States v. Nixon,
   418 U.S. 683 (1974) .............................................................................................................1, 10

United States v. Skelos,
   No. 15-CR-317 (KMW), 2018 WL 2254538 (S.D.N.Y. May 17, 2018) .......................9, 10, 13

United States v. Vezina,
   165 F.3d 176 (2d Cir. 1999).................................................................................................2, 11

STATUTES

18 U.S.C. § 401(3) ...........................................................................................................................7

18 U.S.C. § 3500 ............................................................................................................................18

RULES

Federal Rule of Criminal Procedure 17(c) ............................................................................. passim

Local Criminal Rule 16.1.................................................................................................................9




                                                                     iii
         Case 1:19-cr-00561-LAP Document 284 Filed 05/04/21 Page 5 of 22




                              I. PRELIMINARY STATEMENT 1

        Defendant Steven Donziger, an adjudicated racketeer who led a decades-long scheme to

extort Chevron Corporation (“Chevron”) using a multi-billion-dollar Ecuadorian judgment that he

procured through fraud and bribery, is about to face trial on criminal contempt charges arising

from his multiple violations of the RICO Judgment entered against him and his refusal to obey

post-judgment discovery orders. See Chevron Corp. v. Donziger, 974 F. Supp. 2d 362 (S.D.N.Y.

2014); Chevron Corp. v. Donziger, 384 F. Supp. 3d 465 (S.D.N.Y. 2019). Instead of grappling

with the merits of these charges, Donziger now has issued sweeping subpoenas targeting Gibson,

Dunn & Crutcher LLP (“Gibson Dunn”) and the partners of the Firm who obtained this RICO

Judgment against him in the first place. He apparently intends to make a circus of this trial, and is

abusing the Federal Rule of Criminal Procedure 17(c) subpoena process by seemingly trying to

settle old scores with those he views as responsible for his downfall. This Court should not

countenance such gamesmanship. Donziger’s subpoenas require the production of irrelevant,

inadmissible, and privileged documents and information in blunderbuss fashion. Donziger’s

requests are not even targeted to obtain relevant, admissible, and non-privileged documents. They

constitute nothing more than a prohibited “fishing expedition.” United States v. Nixon, 418 U.S.

683, 700 (1974).     This Court should therefore quash Donziger’s Rule 17(c) subpoenas as

unreasonable and impermissible.

        Donziger’s subpoenas are breathtaking in both their scope and irrelevance. Six of the

fifteen document requests are broad demands for documents and information relating to

communications with Your Honor and Judge Kaplan. Those six requests are apparently predicated



 1
     The parties have agreed to the following briefing schedule: Donziger will file his Opposition
     on or before May 5, 2021; Gibson, Dunn & Crutcher LLP and Certain Partners will file any
     reply in support of their motion on or before May 6, 2021.
                                                 1
         Case 1:19-cr-00561-LAP Document 284 Filed 05/04/21 Page 6 of 22




on Donziger’s unfounded “speculation that the universe is conspiring against him.” Dkt. 68 at 24.

Specifically, the subpoenas command the creation of a log of all “meetings, whether professional

or personal in nature” and the production of “all electronic documents or communications”

between “any employee or agent of Gibson Dunn” and (i) Your Honor or any agent or family

member of Your Honor, (ii) Judge Kaplan or any agent or family member of Judge Kaplan, or (iii)

any employee or agent of the prosecutors or the Seward & Kissel law firm. Gibson Dunn Subpoena

¶¶ 1–9. 2 The subpoenas further seek, for example, a “summary indicating hours and dollar

amount[s] . . . of all bills submitted by Gibson Dunn to Chevron Corporation for work on any . . .

matter” over a period of over two years, as well as “[a]ll bills and underlying timesheets . . . for

work on any legal or non-legal matter relating in any way to Steven Donziger or the country of

Ecuador.” Id. ¶¶ 12–13. They also call for the production of “all” marketing materials and

published articles authored by any “employee or agent of Gibson Dunn” that mention Chevron,

Ecuador, or Donziger. Id. ¶ 14.

       These overbroad and sweeping requests seek documents and information that have no

relevance to any of the issues before the Court. To convict Donziger of criminal contempt of a

court order, the prosecution must prove “(1) the issuance of the order, (2) the defendant’s

disobedience or disregard of the order, and (3) the defendant’s knowledge and willfulness in

disobeying the order.” United States v. Vezina, 165 F.3d 176, 178 (2d Cir. 1999). The documents

and information that Donziger seeks from Gibson Dunn and its partners will not inform any of

these elements or even assist in any way, shape, or form in proving any cognizable legal defense,

much less exonerate Donziger. Whether Donziger engaged in knowing and willful disobedience



2
  The five subpoenas are attached to the Brodsky Declaration as Exhibits A through E. Given that
they are largely identical, for simplicity, citations and quotations from the subpoenas will be to the
Gibson Dunn Subpoena (which is attached as Exhibit A).
                                                  2
        Case 1:19-cr-00561-LAP Document 284 Filed 05/04/21 Page 7 of 22




and disregard of Judge Kaplan’s rulings does not turn in any respect on documents exclusively in

Gibson Dunn’s possession, much less the sort of documents Donziger seeks. Gibson Dunn’s work

for Chevron will likewise shed no light whatsoever on what actually matters in this action: whether

Donziger committed criminal contempt by intentionally violating Judge Kaplan’s rulings.

       There is more: the vast majority of the documents and information Donziger seeks would

not be admissible in this criminal action. Rule 17(c) does not provide criminal defendants access

to attorney-client privileged communications or protected attorney work product. Yet the bulk of

the documents Donziger seeks—including bills and timesheets, internal Gibson Dunn

communications for purposes of advising a client and working on client matters, Gibson Dunn’s

confidential communications with its client for purposes of providing legal advice, and

communications     with   investigators   and   other   agents—are     privileged   attorney-client

communications and/or protected attorney work product and thus would not be admissible at trial.

       Donziger’s requests also lack the specificity required of valid Rule 17(c) subpoenas.

Document requests under Rule 17(c) must be tailored and identify the documents sought. In clear

violation of these established requirements, Donziger’s requests are broad, vague, and unfocused,

span a substantial time period beyond the criminal charges (some seeking documents for a nearly

five-year time period, see Gibson Dunn Subpoena ¶¶ 10–11), and lack any relevant connection to

this criminal proceeding in any way, shape, or form.

       Donziger’s inexplicable eleventh-hour misuse of Rule 17(c) should not be tolerated. For

all of the reasons explained here, the Court should quash Donziger’s Rule 17(c) subpoenas to

Gibson Dunn, Anne M. Champion, Randy M. Mastro, Andrea E. Neuman, and William E.

Thomson.




                                                3
        Case 1:19-cr-00561-LAP Document 284 Filed 05/04/21 Page 8 of 22




                                      II. BACKGROUND

A.     The RICO Judgment and Post-Judgment Proceedings in the Civil RICO Action

       In March 2014, Judge Kaplan found that Donziger injured Chevron through a pattern of

racketeering and fraud that culminated in a fraudulent multi-billion dollar judgment being entered

against Chevron in Lago Agrio, Ecuador. Those findings came after a seven-week trial in which

the principal facts that established Donziger’s scheme to defraud and extort Chevron “were not

seriously disputed.” Donziger, 974 F. Supp. 2d at 446. Judge Kaplan, for example, found that

“[Donziger] and the Ecuadorian lawyers he led corrupted the Lago Agrio case.” Id. at 384. And

Donziger’s bad acts included, among other things, (1) “submit[ting] fraudulent evidence,” (2)

“coerc[ing] one judge, first to use a court-appointed, supposedly impartial, ‘global expert’ to make

an overall damage assessment and, then, to appoint to that important role a man whom Donziger

hand-picked and paid to ‘totally play ball’ with” the Lago Agrio Plaintiffs (“LAPs”), (3) “pa[ying]

a Colorado consulting firm secretly to write all or most of the global expert’s report, falsely

present[ing] the report as the work of the court-appointed and supposedly impartial expert,” and

(4) telling “half-truths or worse to U.S. courts in attempts to prevent exposure of that and other

wrongdoing.” Id. Judge Kaplan also found that Donziger’s team “wrote the Lago Agrio court’s

Judgment themselves and promised $500,000 to the Ecuadorian judge to rule in their favor and

sign their judgment.” Id. (Gibson Dunn and its partners Anne M. Champion, Randy M. Mastro,

Andrea E. Neuman, and William E. Thomson represent Chevron in the civil RICO action.)

       In light of Donziger’s extensive corruption of the Ecuadorian proceedings, Judge Kaplan

concluded that “[i]f ever there were a case warranting equitable relief with respect to a judgment

procured by fraud, this is it.” Id. To prevent Donziger from profiting from this scheme, Judge

Kaplan ordered equitable relief against Donziger and his two Ecuadorian clients who appeared in

the action, that precluded them from enforcing the fraudulent Ecuadorian judgment in the United

                                                 4
        Case 1:19-cr-00561-LAP Document 284 Filed 05/04/21 Page 9 of 22




States and monetizing or profiting from funds traceable to it, and required them to turn over to

Chevron any money traceable to the judgment procured by fraud. Id. at 638–42.

       The Second Circuit unanimously affirmed the RICO Judgment. In a 127-page opinion, the

Second Circuit recognized that “the record . . . reveal[ed] a parade of corrupt actions by the LAPs’

legal team, including coercion, fraud, and bribery, culminating in the promise to [Ecuadorian]

Judge Zambrano of $500,000 from a judgment in favor of the LAPs.” Chevron Corporation v.

Donziger, 833 F.3d 74, 126 (2d Cir. 2016). The Second Circuit emphasized that, on appeal,

Donziger did not challenge any of the district court’s factual findings, and held there is “no basis

for dismissal or reversal.” Id. at 151. The Supreme Court denied Donziger’s petition for a writ of

certiorari. Donziger v. Chevron Corp., 137 S. Ct. 2268 (2017).

       Beginning in March 2018, Chevron served post-judgment discovery to locate assets to

satisfy a costs judgment that Donziger had refused to pay, including the location of the tens of

millions of dollars that Donziger has raised over the years and to this day remain unaccounted for,

as well as to determine whether Donziger had complied with the RICO Judgment’s prohibition

against profiting from his misconduct. No. 11 Civ. 691 (S.D.N.Y.), Dkt. 1966. Donziger’s

response was to obstruct Chevron’s efforts at every turn. In an attempt to force Donziger’s

compliance with its discovery requests, Chevron filed, and Judge Kaplan granted, multiple motions

to compel. Donziger, 384 F. Supp. 3d at 470–88. Donziger, however, remained steadfast in his

refusal to comply with Judge Kaplan’s post-judgment orders.

       Based on Donziger’s obstruction of its discovery efforts, and repeated violations of the

RICO Judgment (including his failure to transfer his contingent fee interest in the Ecuadorian

judgment to Chevron and his exchange of part of his interest for thousands of dollars in personal

services), Chevron filed various motions seeking to hold Donziger in contempt of the RICO



                                                 5
        Case 1:19-cr-00561-LAP Document 284 Filed 05/04/21 Page 10 of 22




Judgment and Judge Kaplan’s post-judgment orders. Id. at 474–76. On May 23, 2019, in a 71-

page opinion, Judge Kaplan granted Chevron’s motions, finding Donziger in contempt of multiple

paragraphs of the RICO Judgment, a post-judgment forensic protocol, and a restraining notice

Chevron served under N.Y. CPLR § 5222.            Id. at 506–07.     Judge Kaplan imposed both

compensatory and coercive sanctions against Donziger, including a coercive fine to “begin at

$2,000 for May 28, 2019 and [to] double for each subsequent day during which Donziger fails

fully to purge himself of [his] contempt” of the forensic protocol. Id. 3 After the coercive fines

did not cause Donziger to change his refusal to comply with judicial orders, Judge Kaplan directed

Donziger to surrender his passports pending compliance with the outstanding orders. No. 11 Civ.

691 (S.D.N.Y.), Dkt. 2232 at 2. Donziger refused to comply; in fact, “Donziger initially agreed to

turn over the passport(s) if the Court so required but then reneged and refused to comply with the

Court’s order.” No. 11 Civ. 691 (S.D.N.Y.), Dkt. 2254 at 1.

       Donziger appealed the civil contempt ruling, and the Second Circuit affirmed in substantial

part. See Chevron Corp. v. Donziger, 990 F.3d 191, 197 (2d Cir. 2021) (“We also affirm the

district court’s finding that Donziger violated the Injunction in several respects and its judgment

of civil contempt relating to those violations.”). The Second Circuit made clear that its opinion

should not “be taken as somehow vindicating Donziger” and made clear that its ruling has “no

effect on, and does not in any way call into question, the district court’s thorough and fully

persuasive fact findings and legal conclusions, which we have already affirmed in full, establishing

Donziger’s violations of law and ethics that added up to a pattern of racketeering in violation of

the RICO statute.” Id. at 212. It also emphasized that Donziger “can no longer sell any interests




3
  The fines were subsequently capped at $100,000 per day, and later suspended due to Donziger’s
non-compliance. No. 11 Civ. 691 (S.D.N.Y.), Dkts. 2222, 2252.
                                                 6
        Case 1:19-cr-00561-LAP Document 284 Filed 05/04/21 Page 11 of 22




in the Ecuadorian Judgment for any reason, and use the proceeds for his benefit, whether for

business or personal expenses or as part of a monthly retainer or arrears, or profit from such sales

in any way whatsoever, without violating the Injunction and risking a contempt finding.” Id. at

213.

B.     The Criminal Contempt Charges and Donziger’s Rule 17(c) Subpoenas

       After more than a year of Donziger’s willful refusals to comply with multiple court orders,

including his flouting of the daily fines and other measures imposed to compel compliance with

the civil contempt orders, Judge Kaplan issued an order to show cause why Donziger should not

be held in criminal contempt for his noncompliance with his orders. Dkt. 1. The order to show

cause charged Donziger with six counts of criminal contempt under 18 U.S.C. § 401(3):

       Count I charges Donziger with failing to comply with Paragraph 4 of a forensic
       inspection protocol which required Donziger to list his electronic devices and
       accounts for all or part of March 8, 2019 until May 28, 2019.

       Count II charges Donziger with failing to comply with Paragraph 5 of the same
       forensic inspection protocol, which required him to surrender his electronic devices
       and accounts for imaging, for all or part of March 18, 2019 until Mary 28, 2019.

       Count III charges Donziger with failing to comply with the court’s June 11, 2019
       order requiring him to surrender his passport to the clerk.

       Count IV charges Donziger with failing to comply with Paragraph 1 of the RICO
       judgment, which imposed a constructive trust in favor of Chevron on all property
       traceable to the Ecuadorian judgment, and also charges Donziger with aiding and
       abetting violations of Paragraph 1 of the RICO Judgment by refusing to transfer or
       assign to Chevron property that he had, directly or indirectly, traceable to the
       Ecuadorian judgment.

       Count V charges Donziger with failing to assign his interest in the Ecuadorian
       judgment granted by his retainer with the FDA, in violation of Paragraph 1 of the
       RICO Judgment.

       Count VI charges Donziger with violating Paragraph 5 of the RICO Judgment by
       monetizing his interest in the Ecuadorian judgment through exchanging a portion
       of his interest for personal services.

See Dkt. 1 ¶¶ 1–21.

                                                 7
       Case 1:19-cr-00561-LAP Document 284 Filed 05/04/21 Page 12 of 22




       Although this criminal action has been pending for nearly two years with Donziger and his

counsel seeking postponements of multiple trial dates, Donziger waited until April 29, 2021—just

11 days before his trial is set to commence—to serve five largely identical Rule 17(c) subpoenas

on Gibson Dunn and four of its partners. These subpoenas contain sweeping requests for

production of documents and information, including for:

   •   “[A]ll electronic documents or communications involving . . . any employee or agent of
       Gibson Dunn” and (i) “Judge Loretta Preska or any agent or family member of Judge
       Preska,” (ii) “Judge Lewis Kaplan or any agent or family member of Judge Kaplan,” or
       (iii) “Rita Glavin, Brian P. Maloney, Sareen K. Armani, or any employee or agent of the
       Seward & Kissel law firm.” Gibson Dunn Subpoena ¶¶ 1, 4, 7.

   •   “All information regarding or reflecting the existence of telephone or videoconferencing
       communications or in-person meetings involving . . . any employee or agent of Gibson
       Dunn” and (i) “Judge Loretta Preska or any agent or family member of Judge Preska,” (ii)
       “Judge Lewis Kaplan or any agent or family member of Judge Kaplan,” or (iii) “Rita
       Glavin, Brian P. Maloney, Sareen K. Armani, or any employee or agent of the Seward &
       Kissel law firm.” Id. ¶¶ 3, 6, 9.

   •   The creation of a “log indicating date and approximate length of all telephone or
       videoconferencing communications, or in-person meetings, whether professional or
       personal in nature, scheduled or unscheduled, involving . . . any employee or agent of
       Gibson Dunn” and (i) “Judge Loretta Preska or any agent or family member of Judge
       Preska,” (ii) “Judge Lewis Kaplan or any agent or family member of Judge Kaplan,” or
       (iii) “Rita Glavin, Brian P. Maloney, Sareen K. Armani, or any employee or agent of the
       Seward & Kissel law firm.” Id. ¶¶ 2, 5, 8.

   •   “All bills and underlying timesheets (a) submitted or (b) prepared for submission but later
       revised or not submitted by Gibson Dunn to Chevron Corporation for work on any legal or
       non-legal matter relating in any way to Steven Donziger or the country of Ecuador during
       the relevant time period.” Id. ¶ 12.

   •   “A summary indicating hours and dollar amount[s] on a quarterly basis through the relevant
       time period of all bills submitted by Gibson Dunn to Chevron Corporation for work on any
       other matter.” Id. ¶ 13.

   •   “[A]ll Marketing and Solicitation Materials that mention Chevron Corporation, Ecuador,
       or Steven Donziger.” Id. ¶ 14.

   •   “[A]ll Professional, Academic, and Media Materials in the firm’s possession, custody, or
       control that (a) is authored by an employee or agent of Gibson Dunn and (b) mentions
       Chevron Corporation, Ecuador, or Steven Donziger.” Id. ¶ 15.

                                                8
         Case 1:19-cr-00561-LAP Document 284 Filed 05/04/21 Page 13 of 22




     •   “[A]ll documents or electronic communications involving any employee or agent of
         Gibson Dunn, including specifically any private investigators or ‘corporate solutions’
         service providers, reflecting the objective to get Steven Donziger disbarred” or “to get
         Steven Donziger charged with criminal contempt or any other criminal offense.” Id. ¶¶ 10–
         11.

     •   “[A]ny communications with any current or former judicial officer or staff, any
         prosecutorial authority and/or any current or former prosecutor, including specifically Joon
         Kim, Geoffrey Berman, Audrey Strauss, Cyrus Vance, Jr., and Rudy Giuliani, or their
         deputies or assistants, any law enforcement officers, any private investigator, or any
         relevant third-party” that “reflect[] the objective to get Steven Donziger charged with
         criminal contempt or any other criminal offense.” Id. ¶ 11.

         On May 2, 2021, and in accordance with Local Criminal Rule 16.1, Gibson Dunn conferred

by telephone with Donziger’s counsel. Brodsky Decl. ¶ 7. Gibson Dunn explained the impropriety

of the requests in the subpoenas and offered to provide (a) all written communications between

Gibson Dunn and Rita Glavin, Brian P. Maloney, Sareen K. Armani relating to this case from

April 15, 2019 to the present, and (b) a log of meetings between Anne M. Champion, Randy M.

Mastro, Andrea E. Neuman, and/or William E. Thomson and Rita Glavin, Brian P. Maloney,

and/or Sareen K. Armani from April 15, 2019 to the present, so long as they withdrew all of the

remaining requests which were too broad,speculative, chock-full of baseless conspiracy theories,

and in large part subject to privileges. Id. Donziger’s counsel declined the offer. Id.

                                         III. ARGUMENT

A.       Donziger’s Subpoenas Contravene the Established Limitations of Rule 17(c)

         Rule 17(c) provides that “[a] subpoena may order the witness to produce any books, papers,

documents, data, or other objects the subpoena designates.” Fed. R. Crim. P. 17(c). Rule 17(c)

“should be used only as ‘a mechanism for obtaining specific admissible evidence.’” United States

v. Skelos, No. 15-CR-317 (KMW), 2018 WL 2254538, at *2 (S.D.N.Y. May 17, 2018) (quoting

United States v. Barnes, No. 04-CR-186 (SCR), 2008 WL 9359654, at *4 (S.D.N.Y. Apr. 2,

2008)). Rule 17(c)(2) protects against misuse by providing that “[o]n [a] motion made promptly,
                                                  9
        Case 1:19-cr-00561-LAP Document 284 Filed 05/04/21 Page 14 of 22




the court may quash or modify [a] subpoena if compliance would be unreasonable or oppressive.”

Fed. R. Crim. P. 17(c)(2).

       To survive a motion to quash, subpoenas served under Rule 17(c) must clear “three

hurdles” that the Supreme Court outlined in United States v. Nixon, 418 U.S. 683 (1974):

“(1) relevancy; (2) admissibility; [and] (3) specificity.” Id. at 700; see also, e.g., United States v.

Bergstein, 788 F. App’x 742, 746 (2d Cir. 2019) (“We have . . . applied the Nixon standard to Rule

17(c) subpoenas requested by a defendant . . . as have district courts in this Circuit.”); Skelos, 2018

WL 2254538, at *1 (noting “courts in the Second Circuit have almost unanimously applied Nixon

to subpoenas served on third-parties”). Nixon held that Rule 17(c) was designed to “expedite the

trial by providing a time and place before trial for the inspection of subpoenaed materials.” Id. at

698–99. The Rule is not to be used to engage in a “fishing expedition.” Id. at 700; see also, e.g.,

Avenatti, 2020 WL 86768, at *6 (denying request to issue “Rule 17(c) subpoena” that

“constitute[d] the proverbial ‘fishing expedition’ prohibited under the case law”).

       Donziger’s subpoenas come nowhere close to establishing relevancy, admissibility, and

specificity. Donziger “has the burden of specifically identifying the materials sought, and showing

that they are relevant and admissible.” Barnes, 2008 WL 9359654, at *3 (quoting United States

v. Brown, No. 95-CR-168 (AGS), 1995 WL 387698, at *9 (S.D.N.Y. June 30, 1995)). Donziger

cannot make that showing because the subpoenas seek information that has no relevance to

whether he committed criminal contempt. Worse still, Donziger’s subpoenas call for inadmissible

evidence—including privileged communications.            And the sheer “timing and breadth” of

Donziger’s subpoenas makes them “unreasonable and oppressive.” United States v. Nektalov, No.

03-CR-828, 2004 WL 1574721, at *3 (S.D.N.Y. July 14, 2004) (quashing expansive subpoena

issued just days before trial was unreasonable and oppressive). Inexplicably waiting until eleven



                                                  10
        Case 1:19-cr-00561-LAP Document 284 Filed 05/04/21 Page 15 of 22




days before trial, Donziger demands production of documents and information covering an

enormous scope of material. The shocking “breadth” of Donziger’s much-belated request has all

“the traits of a fishing expedition[] about which the Supreme Court cautioned” in Nixon. Id.

       1.      The Subpoenas Seek Information Irrelevant to This Criminal Action

       In assessing Rule 17(c) discovery requests made by criminal defendants, courts focus on

the nexus between the information sought and the facts pertinent to the elements of the offenses at

issue or any cognizable defense. See, e.g., Avenatti, 2020 WL 86768, at *6 (quashing Rule 17(c)

requests because they did not go to a “central issue at trial” and did not “satisfy the initial

requirement of relevance”). To convict Donziger of criminal contempt of a court order, the

prosecution must prove “(1) the issuance of the order, (2) the defendant’s disobedience or disregard

of the order, and (3) the defendant’s knowledge and willfulness in disobeying the order.” Vezina,

165 F.3d at 178. The documents and information Donziger requests will not inform any of these

elements or assist in proving any cognizable legal defense.

       Donziger’s subpoenas seek documents and information that has no relevance to the issues

in this criminal action: whether a court order was issued, whether Donziger disobeyed that court

order, or whether Donziger did so with the required knowledge and state of mind. For example,

Gibson Dunn’s documents or communications regarding whether Donziger should be disbarred

(see Exhibits A–E ¶¶ 10), will shed no light at all on whether Donziger knowingly violated any

court orders. 4 The same is true of Gibson Dunn’s timesheets and bills for work it has done for

Chevron, its marketing materials, and everything else Donziger has requested. None of the

expansive topics in Donziger’s subpoenas has anything at all to do with whether he committed



4
  Donziger’s disciplinary proceedings were instituted by the Attorney Grievance Committee for
the First Judicial Department, and concluded with Donziger being disbarred as a result of his
professional misconduct. See Matter of Donziger, 186 A.D.3d 27, 30 (2020).
                                                11
        Case 1:19-cr-00561-LAP Document 284 Filed 05/04/21 Page 16 of 22




criminal contempt. They are the definition of irrelevant requests.    Donziger’s subpoenas stand

in stark contrast to those that courts have upheld as seeking relevant information within the scope

of Rule 17(c). For example, in United States v. Rajaratnam, 753 F.Supp.2d 317 (S.D.N.Y. 2011),

the district court permitted requests which sought evidence relevant to the insider trading charges

against Rajaratnam from a cooperating witness who pled guilty to conspiring with Rajaratnam to

trade based on inside information:      communications among the subpoenaed party, certain

individuals, and the defendant relating to the charged insider trading conspiracy against the

defendant; communications reflecting the subpoenaed party’s payment of bribes to insiders in

exchange for breaching duties; and communications reflecting the subpoenaed party received

payment from Rajaratnam in connection with the insider trading schemes.

       To the extent Donziger is attempting to use Rule 17(c) to obtain documents and information

solely for impeachment purposes without any other plausible connection to the elements of the

charges and/or a legally cognizable defense, that is contrary to established authority. See, e.g.,

United States v. Binday, 908 F. Supp. 2d 485, 492 (S.D.N.Y. 2012) (noting that a Rule 17(c)

subpoena “does not satisfy the Nixon three-pronged test if it seeks material that could be used at

trial only to impeach a witness”).

       2.      The Subpoenas Seek Inadmissible Evidence

       Rule 17(c) may only be used to obtain evidence that is admissible. In this respect, “Rule

17(c) can be contrasted with the civil rules which permit the issuance of subpoenas to seek

production of documents or other materials which, although not themselves admissible, could lead

to admissible evidence.” United States v. Cherry, 876 F. Supp. 547, 553 (S.D.N.Y. 1995). Yet

because of the sweeping nature of Donziger’s requests—which seek “all” documents or

communications on multiple different subjects—he cannot establish that he seeks only admissible



                                                12
        Case 1:19-cr-00561-LAP Document 284 Filed 05/04/21 Page 17 of 22




evidence. As Donziger does “not know the universe of documents [he is] requesting, [he] cannot

meet [his] burden of showing that these documents would be admissible at trial.” Skelos, 2018

WL 2254538, at *3. Moreover, the bulk of the documents and information that Donziger seeks

would likely “contain privileged material which would render them inadmissible.” Barnes, 2008

WL 9359654, at *4.

        Donziger, for example, requests the production of draft and final bills and timesheets

relating to Gibson Dunn’s work for Chevron. See Gibson Dunn Subpoena ¶¶ 12–13. These

documents contain matters subject to the attorney-client privilege and/or attorney work product

protection (including litigation strategy and the nature of the services provided). Yet Donziger has

made no attempt to limit his requests to exclude such privileged and protected information, even

though “attorney billing statements are subject to the attorney-client privilege to the extent that

they reveal more than client identity and fee information.” Ehrich v. Binghamton City Sch. Dist.,

210 F.R.D. 17, 19–20 (N.D.N.Y. 2002); see also, e.g., Diversified Grp., Inc. v. Daugerdas, 304 F.

Supp. 2d 507, 514 (S.D.N.Y. 2003) (explaining that “correspondence, bills, ledgers, statements,

and time records which also reveal the motive of the client in seeking representation, litigation

strategy, or the specific nature of the services provided . . . fall within the privilege”) (citation

omitted). 5   Donziger’s requests for documents relating the supposed “objective” of having

Donziger being disbarred or prosecuted would sweep in documents protected by the attorney-client



5
  Gibson Dunn and its partners are duty-bound to invoke privilege on behalf of their client
Chevron. See Republic Gear Co. v. Borg-Warner Corp., 381 F.2d 551, 556 (2d Cir. 1967) (“Not
only may an attorney invoke the privilege in his client’s behalf when the client is not a party to the
proceeding in which disclosure is sought, but he should do so, for he is duty-bound to raise the
claim in any proceeding in order to protect communications made in confidence.”) (internal
citations and quotation marks omitted); see also Fisher v. United States, 425 U.S. 391, 402 n.8
(1976) (“[I]t is universally accepted that the attorney-client privilege may be raised by the
attorney.”) (citation omitted); Dinler v. City of New York, No. 04-CIV-7921 (RJS), 2009 WL
10738061, at *4 (S.D.N.Y. Sept. 3, 2009).
                                                 13
        Case 1:19-cr-00561-LAP Document 284 Filed 05/04/21 Page 18 of 22




privilege or as attorney work product. See Gibson Dunn Subpoena ¶¶ 10–11. In fact, Donziger

requests documents reflecting “any discussion of plans, ideas, methods, tactics, strategies, [or]

approaches,” id.—in other words, strategic communications and documents that are at the heart of

the attorney-client relationship and that reflect work product.

       All of these materials would therefore be inadmissible in this action even if they were

somehow relevant, and thus beyond the scope of Rule 17(c).

       The subpoenas also seek communications between Gibson Dunn, including any of its

agents and employees, and multiple other persons and entities (ranging from publications to

prospective clients, to former prosecutors, to Your Honor, Judge Kaplan, and the prosecutors in

this case, see Gibson Dunn Subpoena ¶¶ 1–15), that would also constitute inadmissible hearsay.

These communications would be, by definition, out-of-court statements and it is not apparent how

Donziger could overcome any hearsay exception. Thus, as with the other materials Donziger

seeks, even in the event they were relevant (which they are not), these inadmissible documents

would be beyond the scope of Rule 17(c). See, e.g., Barnes, 2008 WL 9359654, at *4 (quashing

subpoena seeking documents with out-of-court statements as defendants did not explain why they

were admissible at trial); United States v. Boyle, No. 08-CR-523 (CM), 2009 WL 484436, at *2

(S.D.N.Y. Feb. 24, 2009) (quashing requests for “witness statements” and “audio recordings” as

those materials would “be inadmissible at defendant’s trial on hearsay grounds”); United States v.

Jackson, No. 02-CR-756 (LMM), 2006 WL 1993251, at *2 (S.D.N.Y. July 14, 2006) (“The

defendant has not shown how the subpoenaed telephone records, of their nature hearsay, could be

admissible, as required by Nixon.”); United States v. Brown, 95-CR-168, 1995 WL 387698, at *10

(S.D.N.Y. June 30, 1995) (quashing subpoena for memoranda of interviews because they would

“be hearsay, and inadmissible as evidence at trial”) (citation omitted).



                                                 14
         Case 1:19-cr-00561-LAP Document 284 Filed 05/04/21 Page 19 of 22




         3.     The Subpoenas Are Broad in Violation of Rule 17(c)

         “In order to avoid speculation that the moving party is using Rule 17(c) to circumvent

normal discovery requirements, the party’s Rule 17(c) subpoena must be able to reasonably specify

the information contained or believed to be contained in the documents sought rather than merely

hope that something useful will turn up.” Avenatti, 2020 WL 86768, at *4 (emphasis added)

(quoting United States v. Mendinueta-Ibarro, 956 F. Supp. 2d 511, 512–13 (S.D.N.Y. 2013)).

Instead of adhering to this specificity requirement, Donziger’s demands seek “all” materials on

certain, irrelevant subjects, over extended periods of time. This contravenes the limits of Rule

17(c).

         “Blanket requests” like those Donziger makes here “violate the specificity requirement set

forth in Nixon, . . . which bars ‘fishing expeditions to see what may turn up.’” Id. (quoting United

States v. Libby, 432 F. Supp. 2d 26, 32 (D.D.C. 2006)). In fact, “[s]ubpoenas seeking ‘any and

all’ materials, without mention of ‘specific admissible evidence,’ justify the inference that the

defense is engaging in the type of ‘fishing expedition’ prohibited by Nixon.” United States v.

Mendinueta-Ibarro, 956 F. Supp. 2d 511, 513 (S.D.N.Y. 2013) (quashing Rule 17(c) subpoena to

New York City Police Department seeking “any and all writings and records” related to the

Department’s contact with a witness). Donziger’s subpoenas are a textbook example of a fishing

expedition.

         Donziger, for example, seeks all documents and communications on any topic—as well as

a log of all meetings, professional or personal—between any employee or agent of Gibson Dunn

and (i) any employee or agent of Seward & Kissel or the prosecutors, (ii) Judge Preska or any

agent or family member of Judge Preska, or (iii) Judge Kaplan or any agent or family member of

Judge Kaplan. Gibson Dunn Subpoena ¶¶ 1–9. The breadth of these requests is staggering, given



                                                 15
        Case 1:19-cr-00561-LAP Document 284 Filed 05/04/21 Page 20 of 22




that Gibson Dunn is a law firm with over 1,400 attorneys and approximately 1,000 staff members

across 20 offices worldwide. Brodsky Decl. ¶ 8. For example, if a Gibson Dunn secretary

happened to be in a book club with a file clerk at Seward & Kissel, the subpoenas would require

Gibson Dunn to log every time the group met. Likewise, if a Gibson Dunn real estate attorney in

another city or country occasionally played tennis with a distant cousin of Your Honor (assuming

Your Honor has cousins), the subpoenas would cover such irrelevant gatherings. Moreover, as

written, Gibson Dunn would have to produce all filings for any matter any of its attorneys had

before Your Honor or Judge Kaplan (aside from the civil RICO action and this action). These

examples show that Donziger has made no effort to limit these requests to specific documents and

information that exists as Rule 17(c) demands—to the contrary, they were drafted as broadly as

they possibly could be drafted.

       Donziger also demands the production of “all” documents “reflecting the objective to get

Steven Donziger disbarred” and “reflecting the objective to get Steven Donziger charged with

criminal contempt or any other criminal offense” without specifying that such documents even

exist. Gibson Dunn Subpoena ¶¶ 10–11. And Donziger includes with these requests a laundry list

of possible persons that Gibson Dunn may have communicated with, ranging from former

prosecutors like Cyrus Vance and Rudy Giuliani, to “any law enforcement officer,” to “any private

investigator,” and to “any relevant third-party.” Id. The temporal reach of these requests is also

broad, with relevant time periods stretching back to September 2016, id. ¶ 10, and October 2017,

id. ¶ 11. Once again, these are the opposite of requests for specific documents—they are blanket

requests that Rule 17(c) forbids.

       The same is true of Donziger’s requests for bills relating to “any” work for Chevron, as

well as “all” Gibson Dunn marketing materials and articles related to Chevron or Ecuador. Gibson



                                               16
        Case 1:19-cr-00561-LAP Document 284 Filed 05/04/21 Page 21 of 22




Dunn Subpoena ¶¶ 13–15. In fact, Donziger’s requests regarding marketing materials and articles

are accompanied by a veritable laundry list of documents he seeks. Id. ¶¶ 14–15. As with his

other requests, these requests have all the hallmarks of civil discovery requests that are beyond the

scope of Rule 17(c). See, e.g., Avenatti, 2020 WL 86768, at *4; Barnes, 2008 WL 9359654, at *4.

       Donziger’s overbroad and speculative requests—along with the timing eleven days before

trial—suggest that these subpoenas were designed to harass Gibson Dunn and its partners, and are

not a serious attempt to obtain permissible Rule 17(c) discovery. They are nothing more than an

improper fishing expedition, and are the definition of “unreasonable or oppressive.” Fed. R. Crim.

P. 17(c)(2).

B.     Donziger Already Has or Can Obtain Relevant Evidence from Other Sources

       Rule 16 governs the scope of discovery in criminal actions. See Fed. R. Crim. P. 16. “[I]f

[an] the item is not discoverable under Rule 16, a party cannot make it discoverable simply by

subpoenaing it under Rule 17.” Barnes, 2008 WL 9359654, at *2. Donziger already has access

to the evidence relevant to the pending criminal charges. The court dockets reflect the orders that

were entered by Judge Kaplan, and Donziger’s own emails and statements to the Court

demonstrate his willful disregard of those orders.

       To the extent some materials were not produced by the prosecutors, this Court has

determined that production was not required under applicable laws. For example, Donziger again

seeks information based on mere “suspicions[] that Gibson Dunn could be feeding misleading

information about him to the Government and that disclosure is needed so he can satisfy himself

that nothing sinister is afoot.” Dkt. 68 at 24; see Gibson Dunn Subpoena ¶¶ 1–3. But the Court

already rejected Donziger’s request for these communications as improper under Rule 16:

       Mr. Donziger’s speculation that the universe is conspiring against him is not a basis
       for compelling disclosure. Like all other criminal defendants, he is only entitled to


                                                 17
        Case 1:19-cr-00561-LAP Document 284 Filed 05/04/21 Page 22 of 22




       disclosure of statements expressly authorized by Rule 16 or otherwise discoverable
       as exculpatory under Brady, or impeaching under 18 U.S.C. § 3500.

Dkt. 68 at 24 (internal quotation marks omitted). Donziger should not be permitted to use Rule

17(c) to bypass that ruling.

       Moreover, some of “the documents that defendant seeks in his subpoena are obtainable

from another source . . . with little or no diligence required.” Boyle, 2009 WL 484436, at *3.

Certain materials Donziger seeks—such as copies of Gibson Dunn’s marketing materials or

articles, see Gibson Dunn Subpoena ¶¶ 14–15—are public and can be accessed by Donziger or his

counsel with little or no diligence required.

                                       IV. CONCLUSION

       The Court should quash Donziger’s Rule 17(c) subpoenas to Gibson Dunn, Anne M.

Champion, Randy M. Mastro, Andrea E. Neuman, and William E. Thomson.



 Dated: May 3, 2021                              Respectfully submitted,


                                                 _________________________________
                                                 Reed Brodsky
                                                 GIBSON, DUNN & CRUTCHER LLP
                                                 200 Park Avenue
                                                 New York, NY 10166
                                                 Telephone: 212.351.4000
                                                 Facsimile: 212.351.4035
                                                 E-mail: rbrodsky@gibsondunn.com

                                                 Attorney for Gibson, Dunn & Crutcher LLP,
                                                 Anne M. Champion, Randy M. Mastro,
                                                 Andrea E. Neuman, and William E. Thomson




                                                18
